        Case 1:18-cv-01162-SGC Document 22 Filed 01/30/19 Page 1 of 1                     FILED
                                                                                 2019 Jan-30 PM 12:49
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        EASTERN DIVISION
ANTHONY A. MITCHELL, JR.,                  )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )   Case No.: 1:18-cv-01162-SGC
                                           )
MADISON JOHNSON, et al.,                   )
                                           )
      Defendants.                          )

                      ORDER OF PARTIAL DISMISSAL

      On January 29, 2019, the plaintiff and defendants Roco Real Estate

Jacksonville, LLC; Roco Management, LLC; and RoCo Real Estate, LLC

(collectively, the “Roco defendants”) filed a joint stipulation of pro tanto dismissal

as to the plaintiff’s claims against the Roco defendants. (Doc. 21). Accordingly, it

is ORDERED, ADJUDGED, and DECREED that, pursuant to FED. R. CIV. P.

41(a)(1)(A)(ii), all claims against the Roco defendants are DISMISED WITH

PREJUDICE, each party to bear their own costs. The plaintiff’s claims against

defendant Madison Johnson remain pending.

      DONE this 30th day of January, 2019.



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                                               STACI G. CORNELIUS
                                               U.S. MAGISTRATE JUDGE
